          Case 2:21-cv-06836-FMO-AGR Document 21-1 Filed 12/22/21 Page 1 of 41 Page ID #:156




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                          5 Facsimile: 310.556.2705
                          6 Attorneys for Defendants UMG
                            Recordings, Inc., Nirvana, L.L.C., Kurt
                          7 Cobain, Deceased, Courtney Love, as
                          8 Executor of the Estate of Kurt Cobain,
                            Krist Novoselic, Chad Channing, David
                          9 Grohl, and Kirk Weddle
                     10
                                                 UNITED STATES DISTRICT COURT
                     11
                                               CENTRAL DISTRICT OF CALIFORNIA
                     12
                     13
                                                                        Case No. 2:21-cv-06836-FMO-AGR
                     14 SPENCER ELDEN,
                                                                        Assigned to Honorable Fernando M.
                     15                                                 Olgum
                                               Plaintiff,
                     16               V.                                DECLARATION OF NARY KIM IN
                                                                        SUPPORT OF DEFENDANTS'
                     17 NIRVANA, L.L.C., et al.,                        12(b)(6) MOTION TO DISMISS
                                                                        FIRST AMENDED COMPLAINT
                     18
                                               Defendants.              Filed concurrently with Notice of
                     19                                                 Motion and Motion to Dismiss First
                                                                        Amended Complaint (Fed. R. Civ. P.
                     20                                                 12(/?)(6)); Request for Judicial Notice;
                                                                        and [Proposeaj Orders
                     21
                                                                        Judge:    Hon. Fernando M. Olguin
                     22                                                 D~te:     January 20, 2022
                                                                        Time:     10:00 a.m.
                     23                                                 Crtrm.:   6D
                     24
                     25
                     26
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Kendall Brill
& Kelly LLP
10100 Santa Monica Blvd     603323017.1                                                Case No. 2:21-cv-06836-FMO-AGR
Suite 1725
Los Ange les, CA 90067
                                                            DECLARATION OF NARY KIM
          Case 2:21-cv-06836-FMO-AGR Document 21-1 Filed 12/22/21 Page 2 of 41 Page ID #:157




                          1                                DECLARATION OF NARY KIM
                          2              I, Nary Kim, declare as follows:
                          3              1.     I am an attorney admitted to practice before all the courts of this state
                          4 and this Court, and a partner at the law firm of Kendall Brill & Kelly LLP, attorneys
                          5 of record for Defendants UMG Recordings, Inc., Nirvana, L.L.C., Kurt Cobain
                          6 (Deceased), Courtney Love (as Executor of the Estate of Kurt Cobain), Krist
                          7 Novoselic, Chad Channing, David Grohl, and Kirk Weddle.                  This declaration is
                          8 submitted in support of Defendants' Rule 12(b)(6) Motion to Dismiss the First
                          9 Amended Complaint (the "Motion") and the accompanying Request for Judicial
                     10 Notice. Except where otherwise stated, I have personal knowledge of the facts set
                     11 forth in this Declaration and, if called as a witness, could and would testify
                     12 competently to such facts under oath.
                     13                  2.     Plaintiffs First Amended Complaint references and describes the cover
                     14 of the album "Nevermind" by Nirvana, throughout the allegations. See, e.g. , Dkt. No.
                     15 19 (FAC) at ,r,r 63 , 64, 77, 81 , 84, 85, 91, 96, 103, 107, 108. A true and correct copy
                     16 of the image of the album cover is attached to this Declaration as Exhibit A.
                     17                  3.     A true and correct copy of the April 24, 1992 Entertainment Weekly
                     18 article by Michele Romero titled "The naked kid from Nirvana's 'Nevermind,"'
                     19 which I downloaded from the website https://ew.com/article/1992/04/24/naked-kid-
                     20 nirvanas-nevermind/ (last accessed December 21 , 2021 ), is attached as Exhibit B.
                     21                  4.     A true and correct copy of the August 19, 2003 Rolling Stone article by
                     22 Kerry L. Smith titled "Nirvana Baby Resurfaces," which I downloaded from the
                     23 website               https://www.rollingstone.com/music/music-news/nirvana-baby-resurfaces-
                     24 235079/ (last accessed December 21, 2021), is attached as Exhibit C.
                     25                  5.     A true and correct copy of the November 10, 2008 MTV News article by
                     26 Chris Harris titled "Nirvana Baby - All Grown Up - Re-creates Classic Nevermind
                     27 Cover                  Image,"     which       I     downloaded       from       the       website
                     28 http://www.mtv.com/news/ 1598985/nirvana-baby-all-grown-up-re-creates-classic-
Kendall Brill
& Kelly LLP
10100 Santa Monica Blvd
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                          1 nevermind-cover-image/ (last accessed December 21 , 2021), is attached as Exhibit
                          2 D.
                          3              6.      A true and correct copy of the June 22, 2011 Methodshop article by
                          4 Giacinta Pace titled "Spencer Elden Reflects On What It Was Like Growing Up As
                          5 'The              Nirvana   BabY, "'    which    I    downloaded      from      the     website
                          6 https://methodshop.com/nirvana-baby (last accessed December 21 , 2021 ), is attached
                          7 as Exhibit E.
                          8              7.      A true and correct copy of the January 16, 2015 The Guardian article by
                          9 Abigail Radnor titled "That's me in the picture: Spencer Elden, four-month-old star
                     10 ofNirvana's Nevermind album, released 1991 ," which I downloaded from the website
                     11 https: //www.theguardian.com/artanddesign/2015/jan/16/thats-me-picture-spencer-
                     12 elden-nirvana-nevermind (last accessed December 21 , 2021), is attached as Exhibit
                     13 F.
                     14                  8.      A true and correct copy of the September 23 , 2016 New York Post article
                     15 by Natalie O'Neill titled, "Nirvana baby recreates iconic album cover 25 years later,"
                     16 which I downloaded from the website https: //nypost.com/2016/09/23/nirvana-baby-
                     l 7 recreates-iconic-album-cover-25-years-later/ (last accessed December 21 , 2021), is
                     18 attached as Exhibit G.
                     19                  9.      A true and correct copy of the September 23 , 2016 Time article by
                     20 Kenneth Bachor titled, "The Baby from Nirvana's Nevermind is 25 Now," which I
                     21 downloaded from the website https://time.com/4499648/nirvana-nevermind-25-
                     22 baby-spencer-elden/ (last accessed December 21 , 2021 ), is attached as Exhibit H.
                     23                  10.     Prior to the filing of this Motion, counsel for the parties engaged in
                     24 multiple conferences to discuss their respective positions and the legal authorities that
                     25 they believed supported each of their positions.
                     26                  11.     On December 13 , 2021 , counsel for the parties had an in-person meet-
                     27 and-confer at the offices of Defendants' counsel, located at 10100 Santa Monica
                     28 Blvd., Suite 1725, Los Angeles, California 90067. The meeting began at 11:30 a.m.
Kendall Brill
& Kelly LLP
10100 Santa Monica Blvd
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Los Ange les, CA 90067
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                          1 and continued until approximately 12:30 p.m. My colleague, Bert H. Deixler, and I
                          2 attended on behalf of Defendants. Margaret E. Mabie, James R. Marsh, and Robert
                          3 Y. Lewis attended on behalf of Plaintiff, Spencer Elden.        Prior to the in-person
                          4 meeting, counsel for the parties had identified their respective positions, as well as
                          5 any supportive legal authorities, in preliminary discussions. Relevant here, counsel
                          6 for Defendants directed Plaintiff to the statute of limitations in 18 U.S.C. § 2255(b);
                          7 federal cases like Singleton v. Clash, 951 F. Supp. 2d 578, 589 (S.D.N.Y. 2013), and
                          8 Shovah v. Mercure, 44 F. Supp. 3d 504, 510-11 (D. Vt. 2014) (which discuss what
                          9 the "injury" at issue in Section 2255 is); Ditullio v. Boehm, 662 F.3d 1091 , 1099 (9th
                     10 Cir. 2011) (which discusses the retroactivity issue for the claim under 18 U.S.C. §
                     11      1595); and Lama v. Malik, 192 F. Supp. 3d 313 , 317-18 (E.D.N.Y. 2016) (which
                     12 discusses equitable tolling in the context of a trafficking claim).
                     13                 12.   During the in-person meeting on December 13, counsel for Defendants
                     14 stated that the basis for the proposed Motion would be as follows: (i) the statute of
                     15 limitations for the Section 2255 claim and (ii) the lack of retroactive application and
                     16 the statute oflimitations for the Section 1595 claim. At the in-person meeting, and in
                     17 a subsequent telephonic conference, counsel for Defendants further explained their
                     18 view of the time bar with respect to certain time periods and as to certain of the
                     19 Defendants (for example, a timely claim could not lie against Kurt Cobain, who died
                     20 in 1994, and could not have engaged in any conduct after his death). Counsel for
                     21 Defendants also explained that the Section 1595 claim failed, in its entirety, because
                     22 the conduct underlying the Section 1595 claim had occurred in 1991 , well before the
                     23 2003 enactment of the private cause of action. Plaintiff maintained that the claims
                     24 are timely and he would not amend the complaint prior to the filing of this Motion. A
                     25 true and correct copy of the email correspondence that counsel exchanged to
                     26 schedule the in-person conference is attached as Exhibit I.
                     27 I I I
                     28 / / /
Kendall Brill
& Kelly LLP
10100 Santa Monica Blvd
Suite 1725
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          Case 2:21-cv-06836-FMO-AGR Document 21-1 Filed 12/22/21 Page 5 of 41 Page ID #:160




                          1            I declare under penalty of perjury under the laws of the United States that the
                          2 foregoing is true and correct and that this declaration was executed on December 21,
                          3 2021 at Los Angeles, California.
                          4
                              DATED: December 22, 2021
                          5
                                                                                            Nary Kim
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             EXHIBIT A
Case 2:21-cv-06836-FMO-AGR Document 21-1 Filed 12/22/21 Page 7 of 41 Page ID #:162




   603323 11 8.1
                                     Exhibit A
                                      Page 5
Case 2:21-cv-06836-FMO-AGR Document 21-1 Filed 12/22/21 Page 8 of 41 Page ID #:163




                EXHIBITB
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         , 3:59 PM                                             Document  21-1
                                                                   The naked        Filed
                                                                             kid from      12/22/21
                                                                                      Nirvana's "Nevermind"Page   9 of 41 Page ID #:164
                                                                                                            I EW.com



   The naked kid from Nirvana's
   "Nevermind"
   The naked kid from Nirvana's "Nevermind" -- We catch up with the model from this iconic
   album cover

   B:,MidloleR001oro   I Updlll8dAprl 24, 1002 at04;00Mo1EDT



      Neve rm ind

      TYPE Music                                                                 GENRE Rock


   "Okay, throw the baby in the pool now." With those words, uttered by photographer
   Kirk Weddle, 4-month-old Spencer Elden was on his way to fame (though not fortune)
   as the baby on the cover of Nirvana's chart-topping album, Nevermind. You know the
   picture: The little fella is submerged in chlorinated depths, his baby penis protrudes
   beneath his chubby tummy, and his arms are outstretched in that "please pick me up
   and carry me out of the store" kind of way. Inches away, a dollar bill on a fishhook
   tempts him.

   The image has been interpreted by fans as a metaphor for Nirvana, a neophyte band
   being reeled in by corporate rock's big bucks. But according to Geffen Records art
   director Robert Fisher, Nirvana's lead singer-guitarist Kurt Cobain had seen a
   documentary on babies being born underwater, and "thought the image would make a
   cool cover. That vision was a bit too graphic, so we went with the swimming baby
   instead ."

   Unable to find a stock shot ofa submarine tyke, Fisher hired underwater- photo
   specialist Weddle, who donned a wet suit and set up a studio (complete with lights and
   waterproof cameras) in an Olympic-size swimming pool in Los Angeles last May.
   Spencer wasn't the lone stunt baby: Weddle cast four other infants as well. "You need
   that many kids," he says, "because you can't count on a baby to do anything you want."
   The babies were passed in front of the camera by either assistants or their parents,
   standing in the shallow end of the pool.

   When young Spencer hit the water, he drifted aimlessly toward the bottom for three
   or four seconds, while an assistant blew a puff of air in his face to wrinkle his nose. "You
   could definitely feel the adrenaline rush in his little body," recalls Spencer's dad, movie-
   prop maker Rick Elden . "Spencer was like, 'Whoa , what was that?"' After five shots,
   Weddle knew he had his cover. Later, the fishhook was stripped into the photo at
   Cobain's direction.

   For his skinny-dipping adventure, Spencer was paid $250 (standard hourly rate for a
   no-name model) and was later presented with a triple-platinum album by Ed
   Rosenblatt, president ofGeffen Records. The shiny disc is displayed in the family's L.A.
   living room . A Nevermind poster hangs above Spencer's little bed . Asked whether

                                                                          Exhibit B
https ://ew.com/article/ 1992/04/24/na ked-kid-n i rvan as-neve rm ind/                                                                   1/2
                                                                           Page 6
           Case
12/21/21 , 3:59 PM   2:21-cv-06836-FMO-AGR Document
                                             The naked 21-1      Filed 12/22/21
                                                       kid from Nirvana's               Page 10 of 41 Page ID
                                                                          "Nevermind" I EW.com
                                                    #:165
   Spencer likes Nirvana (whom he never did meet), Rick Elden says the toddler is "pretty
   indifferent to the music." Maybe he'll grow up to be a rock critic.




      TYPE Music                                                               GENRE Rock




                                                                          Exhibit B
https ://ew.com/article/ 1992/04/24/na ked-kid-n i rvan as-neve rm ind/                                         2/2
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             EXHIBIT C
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                                                    Nirvana      Filed 12/22/21
                                                            Baby Resurfaces               Page 12 of 41 Page ID
                                                                            - Rolling Stone
 HOMEMUSICMUSIC NEWS                                   #:167                                                            AUGUST 19, 2003 4 :00AM ET



 Nirvana Baby Resurfaces
 Spencer Elden appears on Skinny Puppy singer's new album




 By KERRY L. SMITH




 Twelve years ago, Spencer Elden, then four months old, graced the cover of Nirvana's Nevermind. The image became a generational land
 - Elden even reprised the shot in a 2001 Rolling Stone tenth-anniversary tribute to Nevermind. Now, the California sixth-grader is appeari
 his second album cover - The Dragon Experience, the third solo CD by industrial group Skinny Puppy's cEvin Key.

 The album's title and cover art reflect a dream Key had thirty years ago, when he was eleven: He found himself surrounded by "3-D dragons
 envisioned the sound of his future work - "experimental electronic rock," he says. ''I'd never heard of it or seen it yet in my life."

 Key's search for a young boy to help recreate the dream led him to Spencer Elden. "My girlfriend was his baby sitter," Key says. For the new
 cover (shot by Key's girlfriend), Elden dons the original T-shirt that Key made after waking from his dream.




 After the shoot, Key sent Elden a poster of the Dragon Experience cover for him to hang on his bedroom wall alongside the framed platinur
 of Nevermind. "It's important to me because I'm maybe the youngest person to ever get one of those," Elden says of his Nirvana memento. '
 five years or so, somebody's gonna call me up and ask me about Nevermind . .. and I'm probably gonna get some money from it."

 In This Artide: Album Cover, Nirvana, Skinny Puppy, Spencer Elden




                                                                                                     Exhibit C
https://www.rollingstone .com/music/music-news/nirvana-baby-resurfaces-235079/                                                                       1/1
                                                                                                      Page 8
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           NIRVANA BABY -- ALL GROWN UP -- RE-CREATES
                             CLASSIC NEVERMINO COVER IMAGE
                                     THIS TIME, SPENCER ELDEN WORE SHORTS.

                                                       ARCHIVE-CHRIS-HARRIS
                                                       11 / 10 / 2008




         More than 17 years ago, when he was still an infant, Spencer Elden's parents dropped him
         into a swimming pool in California, where underwater photographer Kirk Weddle was
         waiting to snap an entire roll of film of the naked, buoyant baby. The picture was later used
         as the cover image for Nevermind, the second studio LP from a little rock band out of
         Seattle called Nirvana.


         Now, 1 7-year-old Elden is a high school student, who told MTV News last year that "it's
         kind of creepy [to think] that that many people have seen me naked - I feel like I'm the
         world's biaaest oorn star."                                                        Exhibit D
www.mtv.com/news/ 1598985/nirvana-baby-all-grown-up-re-creates-classic-nevermind-cover-image/Page 9
            Case
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         Elden recently re-created the iconic album's cover in the same pool at the Rose Bowl
         Aquatic Center in Pasadena, California, where it was originally shot -                              only this time, he
         was wearing shorts. It remains unclear as to why Elden decided to shoot this new photo.


         Elden's parents were paid just $200 for allowing him to be photographed back in 1991.
         But last year, Elden told us that being the Nirvana baby has its perks. He references it
         when trying to pick up ladies, he said: "I have to use stupid pickup lines like, 'You want to
         see my p---s ... again?' " But it's also led to some strange encounters as well. He was
         once invited to swim in a rather wealthy woman's pool for the mere fact that he was the
         Nirvana baby. Another time, he even met "Weird Al" Yankovic, who famously lampooned
         the cover on his 1992 disc, Off the Deep End.


         "I ran into him when I was going to do a TV interview," Elden said. "He was in the hallway,
         and he actually signed the back of my platinum record."



    FILED UNDER:


      MUSIC            NIRVANA




                                                                                            Exhibit D
www.mtv.com/news/ 1598985/ni rvana-baby-all-grown-up-re-creates-classic-nevermi nd-cover -image/ Page   10
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                                 Spencer Elden Reflects On What It Was Like Growing Up As "The Nirvana Baby"

 ~Wld~Q>M~'

 What if over 30 million people owned a picture of your naked body? In this interview, Spencer Elden
 reflects on what it was like growing up as "The Nirvana Baby."
 June 22, 2011 by Giacinta Pace
     f          w           <p            •
                                          1n
 Before Spencer Elden could walk or talk, he was already famously known as the "Nirvana Baby" around
 the world. Nirvana's Nevermind boasts one of the most iconic album covers of all time and is in good
 company with others such as The Beatles "Sgt. Pepper's Lonely Hearts Club Band" and Bruce
 Springsteen's "Born In The USA."
 Both the album and baby are turning 20 this year and what better way to celebrate than to see what Elden
 has been up to in the past 20 years, including his upcoming art show which opens on May 19th in Los
 Angeles.


      Spencer Elden Reflects On His Life As "The Nirvana Baby"
      And The Anniversary Of Nirvana's N evermind ...
      #NirvanaBand #NevermindAlbum #SpencerElden
      #NirvanaBaby #Nirvana #Nevermind
                                                                                                               CLICK TO TWEET


 How did you get on the cover of Nirvana's Nevermind?




                                                                                         Exhibit E
https ://methodshop .com/nirvana-baby/                                                                                          1/9
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 Well, I was about 6-months-old, and I was hanging out with Kurt Cobain. He threw a dollar in the pool,
 and I just went in after it. No, I'm just kidding, that's not how it happened. My dad was going to art
 school with a good buddy who was a photographer. His friend's name was Kirk Weddle, and Weddle was
 going through a hard time and was thinking of going into the Navy Seals again to go shoot people and kill
 people underwater.




 My dad said, "well you're already in art school, why don't you start taking photos underwater," because he
 was a big scuba diver and ex-Navy Seal. So he thought that was probably a better idea than going off and
 killing people, so he started taking pictures underwater.




 Then one of his first professional underwater photo shoots, that ended up becoming kind of a big thing,
 was the Nirvana photo shoot. No one really knew who Nirvana was back then. So Kirk Weddle called up
 my dad Rick Elden and was like "I need a baby for this photo shoot I'm doing, can you help me out?" I
 was just born, and they went down to the local pool.




                                                                  Exhibit E
https ://methodshop .com/nirvana-baby/                                                                                            2/9
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                Cover photo for Nirvana s album "Nevermind " featuring Spencer Elden (wuaped;a)


 They blew on my face, so I would gag, and then they just threw me in the water. That was it. They took
 one shot. It was on a film drive, so they shot the whole roll in a sixteenth of a second. Then they picked
 the best photo and that's how it worked out. That's how I became the Nirvana baby.
 Was the money on the fishhook Photoshopped into the picture later?
 Yes .




                                                                   Exhibit E
https ://methodshop .com/nirvana-baby/                                                                                   3/9
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                                                            #:175




 Do you still like swimming? How long can you tread water?
 I think a really long time. I used to play water polo in high school, and I was on the swim team. So I'd say
 for at least 2-3 minutes because I am a little out of shape.
 When was the first time that you realized you were the "Nirvana Baby" and what was your reaction to
 being on the cover of an iconic album like Nevermind?
 I really don't remember. I feel like I've been around this whole Nirvana thing growing up for a while. So
 it was kind of like I grew up knowing all about the band, and never really got the chance to discover
 Nirvana as a teenager or a younger adult.
 It was a weird thing that I grew up with, because I would end up doing random interviews talking about
 something I don't really remember that much. It was always a thing that I grew up with, and was never a
 big thing for me I'd say. It's interesting because it's definitely got my foot in the door for a couple of
 situations, which is always handy.
 What is the best and worst part of your claim to fame of being "The Nirvana Baby"?
 Oh, well a lot of people always say things like "small penis" or whatever, but it's always a funny pickup
 line. You always just agree with it, that's the worst part. It's not all that bad because I don't really care. My
 girlfriend knows the truth about that one (laughs).
 The best part is that being the Nirvana baby helps me connect with a lot of people. I make friends pretty
 easily.
                              The 4 Best Places In The World To Celebrate Christmas
                              From snowy Scandinavian towns in the High Arctic to sacred cities,
                              here are some of the best places in the world to celebrate Christmas.
                                 Read more




                                                                         Exhibit E
https ://methodshop .com/nirvana-baby/                                                                                   4/9
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 What is the question you hate being asked most?
 How did you get to be the Nirvana baby? That is a frequent question, that is asked by many people.
 [Note From Interviewer: Yes, I asked that question too in this interview, but I had to, didn't I?J
 What do your friends and family think about you being the Nirvana Baby? Does everyone already know
 who you are?
 Not all the time. Sometimes people won't know I was the Nirvana baby for a long time. After I make a
 new friend, and we've been hanging out, then they'll figure it out later on, and it's kind of funny to see
 their reaction. Most of the time, people know, or I get introduced that way to people.




 What do you think of Nirvana's music, and what kind of music do you listen to?
 Nirvana is really good, but I feel that they are overplayed on the radio, so it's a little repetitive. Just like
 the Red Hot Chili Pem;1ers, or any other band on the radio that gets played a lot and is pretty good. They're
 still really good.
 I listen to a lot of Sirius XM Radio, so I listen to First Wave, a lot of alternative classic, and then a lot of
 new alternative music. I also like all the classic genres. Some ofmy favorite bands right now are The
 Dead Weather, The Fold, and The Kills. I'm listening to the Talking Heads, Crystal Castles, Lykke Li,
 that's just some stuff I've been listening to lately. I like a lot of music. I just listen to music all day long
 while I do art work.
 Can we have the abridged highlights of what you've been up to between the album cover photoshoot and
 now?
 Sure, I'd love to. Well, since the album cover came out, I went through elementary school. I went to high
 school, left high school in the 11 th grade, and went to military school. Got out of high school a year early,
 and got a job working for She11ard Faire)'.'.. He is the famous street artist that made the Obama
 "Hope" poster.




                                                                     Exhibit E
https ://methodshop .com/nirvana-baby/                                                                              5/9
                                                                     Page 15
          Case 2:21-cv-06836-FMO-AGR
12/21/21, 4 :16 PM                Spencer Document        21-1
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                                                                            Growing Up As       22 ofBaby"
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                                                       #:177




                                         Obama "Hope" campaign poster


 He also created the infamous "OBEY Giant" image of Andre the Giant.




                                              "Obey Giant " image




                                                                    Exhibit E
https ://methodshop .com/nirvana-baby/                                                                              6/9
                                                                    Page 16
          Case
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                                                     Elden Reflects On What ItFiled  12/22/21
                                                                              Was Like Growing Up AsPage    23 ofBaby"
                                                                                                      "The Nirvana 41 Page ID
                                                                  #:178
 I somehow lucked out because I had a sketchbook I was working on while I was in military school, and
 when I got out a year early, I got a chance to give my mom's friend my sketchbook. She showed it to her
 sister's husband, who's an art director for Shepard, and he told me to start interning. So I started interning
 at the Shepard Fairey art studio, and I kind of picked up a lot of different skills for visual art.
 My dad runs his own prop studio, as well, so I had a lot of history just working in the studio, and hanging
 out around. You know that "studio rat" lifestyle. So it sits really well with me, and I just kind of found a
 little niche and stuck with it. I've just been working on making visual, pretty pictures of paintings, and
 stuff that makes your eyes happy.
 That's really all I've been working on, just making some artwork, hanging out with friends, listening to
 music, and working on different ways of making money through artwork, rather than making t-shirts,
 doing tattoos, making stickers, posters, just the usual artsy fartsy stuff.




                                            Spencer Elden s artwork


 Besides art, what are some of your other hobbies?
 I'd say smoking weed, hanging out, skateboarding in my backyard, hanging out with my friends, going to
 the beach, just relaxing, and really being busy doing nothing.
 Do you Tweet or Blog? How can people follow what you are up to?
 I need to start tweeting more from .@SPENCERELDENl. I have a blog it's called "Project Skre," it's all of
 my artwork and screen prints, and stuff that I've been doing recently. I am getting ready for an art show. I
 have one coming up on May 19th in LA, in Echo Park. So I've been getting ready for that. I just got
 accepted to art school, so I have been really busy lately running around trying to get ready for school and
 the show, and with work, because I work full time . Yeah, my hobbies are just making artwork, hanging out
 with friends, and going swimming. You know, stuff like that. Oh, I'm also on
 Facebook as ~P-encer.elden.1 .




                                                                     Exhibit E
https ://methodshop .com/nirvana-baby/                                                                                          7/9
                                                                     Page 17
          Case
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                                                                                               "The Nirvana 41 Page ID
                                                            #:179
    new to this hole thing
    -SPENCER ELDEN (@SPENCERELDENl) November 18, 2012


 What inspires you?
 Some of my big inspirations are music and the thoughts or dreams in my head. Whenever you sleep and
 wake-up, and it's kind of fun to record stuff, and then try to translate that into some kind of a picture so
 that people can somehow get an idea of what's going on in my brain. I feel like that's a big inspiration.
 Tell us something that your friends reading this won't already know?
 I'm probably supposed to come up with something clever and funny, but I can't really think of anything. I
 don't know. I try to be an open book, but you can't always be an open book. "You can't judge a book by its
 pages," as Gary Dell'Abate fromthhe Howard Stem Show would say.
 MethodShop is celebratin~Hs 15 anniversary this year. Do you have any special words or a shout-out for
 us as we embark on our 16 year?
 Well, 15 years is a long time, so keep on going, and congratulations. For my birthday, it's always fun to
 just take it easy, and do whatever you want to do. So I hope everyone at MethodShop, does that too!
 Almost 30 million copies of"Neverrnind," have been sold since the album was first released in 1991. It's
 very likely that you have the "most seen male genitalia" in history; more than porn legend Ron Jeremy.
 Have you ever thought about how many people have seen you naked?
 Yeah, I have thought about that. It's kind of like being a secret P-Om star, but not really. But it's not even
 porn! It's more like a Farrah Fawcett poster. I kind of got thrown into that category, of being a sex icon, but
 more of like an alternative rock icon. So, I feel like I try to hold down that image pretty well, and I'll just
 keep on holding it down; being that alternative rock porn star rock icon.




                                                                     Exhibit E
https ://methodshop .com/nirvana-baby/                                                                                   8/9
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              The Nirvana Baby - Spencer Elden on the cover or Nirvanas album "Nevermind"


 Do you have anything else to add?
 Probably just, Babba Booey, Howard Stem's penis, Babba Booey.




                                                              Exhibit E
https://methodshop .com/nirvana-baby/                                                                                    9/9
                                                              Page 19
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                                  #:181




              EXHIBITF
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12/21/21 , 4:18 PM            2:21-cv-06836-FMO-AGR
                                   That's me in the picture : Spencer Document        21-1starFiled
                                                                      Elden , four-month-old          12/22/21
                                                                                               of Nirvana's NevermindPage     27 of 41
                                                                                                                     album , released 1991 IPage   ID I The ...
                                                                                                                                            Photography
                                                                                    #:182
 That's me in the picture: Spencer Elden, four-month-old star of Nirvana's
 Nevermind album, released 1991
 'It is weird being part of such a culturally iconic image,
 because I didn't really have anything to do with it. But it's
 opened doors for me'




 Fri 16 Jan 2015 11 .00 EST

                        y mum has a crazy story. When she was young, she says she had some sort of vision that her baby was going to be everywhere.


 M                      She started having my picture taken as a baby and giving it away as fridge magnets to friends. And then this Nirvana album
                        cover happened and my picture was everywhere on billboards. Nevermind sold 3m copies by the time I was one.

                    I don't think my parents really gave my taking part in this shoot too much thought. They knew who Nirvana were, but weren't
 really into the grunge scene. I was four months old and my dad was attending art school at the time, and his friends would often ask for help
 with their projects. So his friend the photographer Kirk Weddle called him and said, "Do you want to make some money today and throw your
 kid in the pool?" And he agreed. My parents took me down there, apparently they blew in my face to stimulate my gag reflex, dunked me in, took
 some pictures, and pulled me out. And that was it. They were paid $200 and went to eat tacos afterwards. No big deal.

 Weddle had shot a number of babies to find the right image, and they ended up choosing me. I think it's because of my penis - a lot of the other
 babies were girls. Also, the composition seemed very natural. I am glad they chose me. And I am also glad it wasn't for something like
 a Backstreet Boys album.

 I've heard that originally the band wanted the image to be of a woman giving birth under water, but the record company thought that would be
 too graphic. So they compromised with this idea of a baby swimming after a dollar. People have interpreted it differently. I think it's about an
 abandonment of innocence and everyone chasing money sooner and faster.

 It is a weird thing to get my head around, being part of such a culturally iconic image. But it's always been a positive thing and opened doors for
 me. I'm 23 now and an artist, and this story gave me an opportunity to work with Shepard Fairey for five years, which was an awesome
 experience. He is a huge music connoisseur: when he heard I was the Nirvana baby, he thought that was really cool.

 It helps with girls, too. Sometimes girls chat me up about it more than the other way around. I don't tell them it's me, and my friends boast
 about it more than I do. I would never go up to anyone wearing a Nirvana T-shirt and say, "Hey, that's me", but I was once recognised on a




                                                                                                                                              Exhibit F
https://www.theguardian .com/artanddesign/2015/jan/16/thats-me-pictu re-spencer-elden-nirvana-nevermind                                                     1/2
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                                 That's me in the picture : Spencer Document                    21-1starFiled
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                                                                                                                                           album , released 1991 IPage   ID I The ...
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                                                                                             #:183
 bridge in Venice when I was there for the Biennale. An Italian guy stopped me and said, ''You're the Nirvana baby!" which I thought was the
 craziest thing. I don't know how anyone would recognise me.

 I might have one of the most famous penises in the music industry, but no one would ever know that to look at me. Sooner or later, I want to
 create a print of a real-deal re-enactment shot, completely naked. Why not? I think it would be fun.

   Interview by Abigail Radnor.

 Are you in a famous photograph? Email weekend@theguardian.com




                                                                                                                                          Exhibit F
https://www.theguardian .com/artanddesign/2015/jan/16/thats-me-pictu re-spencer-elden-nirvana-nevermind                                                                           2/2
                                                                                                                                          Page 21
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   McDonald's                Chicago                  I went dumpster           TikTok is giving    Olympia              Trolls accuse
   employee                  museum fires all         diving atmy               teen girls          Dukakis' kids list   amputee model
   reveals3 ...              of its mostly ...        local Whole ...           Tourette-like ...   her NYC ...          of...




                                                                                   TRY IT FREE



     ENTERTAINMENT




  Nirvana baby recreates iconic album cover 25 years
  later
  By Natalie O'Neill
  September 23, 2016           6:43pm




                                                                                                       Exhibit G
https: //nypost.com/2016/09/23/nirvana-baby-recreates-iconic-album-cover-25-years-later/               Page 22
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   McDonald's                Chicago                  I went dumpster           TikTok is giving     Olympia              Trolls accuse
   employee                  museum fires all         diving atmy               teen girls           Dukakis' kids list   amputee model
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  Spencer Elden, 25, wanted to go au naturel when he made a splash to honor the legendary
  grunge band, he told The Post.

  "I said to the photographer, 'Let's do it naked.' But he thought that would be weird, so I wore
  my swim shorts," said Elden, an artist from LA.

  The album, released 25 years ago Saturday, includes songs like "Smells Like Teen Spirit"
  and "Come as You Are" and has sold more than 30 million copies worldwide.

  "The anniversary means something to me. It's strange that I did this for five minutes when I
  was 4 months old and it became this really iconic image," he said.

  "It's cool but weird to be part of something so important that I don't even remember," said
  Elden, who prefers the punk band The Clash over Nirvana.

  In 1991, photographer Kirk Weddle asked Elden's parents if he could use the baby for a
  photoshoot for the then-unknown band, according to Time magazine. A fish hook with a
  dollar bill was later added digitally to the image.

  The shoot lasted 15 seconds and Elden's parents made only $200, his dad told NPR in
  2008.

  Earlier this month, photographer John Chapple paid him $200 to do it again, he told The
  Post.

  Elden hopped in a lap pool at The Rose Bowl Aquatics Center in Pasadena to recreate the
  album cover image.

  Elden did the same thing 10 years ago, in honor of the album's 15th anniversary.




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https: //nypost.com/2016/09/23/nirvana-baby-recreates-iconic-album-cover-25-years-later/      Page 24
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   McDonald's                Chicago                  I went dumpster           TikTok is giving     Olympia              Trolls accuse
   employee                  museum fires all         diving atmy               teen girls           Dukakis' kids list   amputee model
   reveals3 ...              of its mostly ...        local Whole ...           Tourette-like ...    her NYC ...          of...




  Spencer Elden, who was pictured as a baby on Nirvana's iconic album cover, "Nevermind," poses in a pool.
  John Chapple/Splash News



                           MUSIC NIRVANA
    FILED UNDER           ,_ _ _ _ _ 9/23/16




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                                                                                               Exhibit G
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                                                                           Spencer Elden I Time 35 of 41 Page ID
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         The Baby From Nirvana's Nevermind Is 25 Now




      Kirk Weddle-GOA/AP; Camieo Tooman




                                              BY KENNETH BACHOR
                                          SEPTEMBER 23 , 2016 9:00 AM EDT



             pencer Elden was just a few months old when his parents got a call from
             underwater photographer Kirk Weddle, who asked ifhe could use their
      newborn baby as part of a photoshoot for an up-and-coming band called
      Nirvana. At the time, Elden's father helped with sets, custom rigging and props
      for photo shoots, which is how he got to know Weddle.




                                                                     Exhibit H
https://time .com/4499648/nirvana-nevermind-25-baby-spencer-elden/                                                 1/4
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          Case
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                                                                                    Spencer Elden I Time 36 of 41 Page ID
                                                              #:191
      Initially, Weddle tried to photograph babies at a swimming class, but none of
      those images fit what Geffen Records was looking for, so they wound up
      choosing one of the stills that Weddle took of Elden. Later on, a fish hook with a
      dollar bill was eventually added, to make it look as if the baby was swimming
      towards it. Elden's parents were reportedly paid only           $200 ,   and the shoot lasted
      around 15 seconds.




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                                                                     Exhibit H
https://time .com/4499648/nirvana-nevermind-25-baby-spencer-elden/                                                          2/4
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                                                                                   Spencer Elden I Time 37 of 41 Page ID
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      "Looking back, it feels kind of stupid doing interviews about it, because I had
      nothing to do with it, but a lot to do with it all at the same time," says Elden,
      now 25. "It's a really weird feeling being a part of someone else's momentum-
      being caught up in this wake of stuff."


      Today, Elden lives in Los Angeles with his mother and focuses on making
      art and growing tomatoes. Over the past few years, his interest in art has
      developed after he interned for street artist Shepard Fairey, who has acted as a
      mentor. But Elden is still trying to figure out how he feels about Nevermind.
      "It's a trip. Everyone involved in the album has tons and tons of money. I feel
      like I'm the last little bit of grunge rock," Elden says, "I'm living in my mom's
      house and driving a Honda Civic."


      Elden has never met the two surviving members of Nirvana, Dave Grohl and
      Krist Novoselic; he says that previous attempts to contact either musician
      weren't successful. In    2013,   TMZ asked Dave Grohl if he ever met the baby from
      the Nevermind cover and Grohl acknowledged that he hasn't: "I've never met
      him. We weren't there the day that they did the photo shoot, so I don't know.
      I've seen him in magazines and stuff."


      Even though Elden has recreated the photo shoot a number of times and has
      a large tattoo that says "Nevermind" on his chest, he says he hasn't fully come
      to terms with being on the album's cover. "I got a little upset for a bit," he says.
      "I was trying to reach out to these people. I never met anybody. I didn't get a
      call or email. I just woke up already being a part of this huge project. It's pretty
      difficult-you feel like you're famous for nothing, but you didn't really do
      anything but their album."


      Frustrated about never receiving any sort of compensation for Nevermind,
      Elden recently looked into pursuing legal action against Geffen Records, but
      was unsuccessful. "It's hard not to get upset when you hear how much money
      was involved," he says. (Nevermind has sold over 30 million copies worldwide.)




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https://time .com/4499648/nirvana-nevermind-25-baby-spencer-elden/                                                         3/4
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                                                            #:193
      "[When] I go to a baseball game and think about it: 'Man, everybody at this
      baseball game has probably seen my little baby penis,' I feel like I got part of my
      human rights revoked," says Elden.


      Though he's occasionally bitter about the role he played in Nevermind, Elden
      admits, "I think it's also me being carried away with it and thinking about it too
      much." He likes the album artwork itself, describing the concept as "genius,"
      but draws the line at merchandising, including puzzles and mugs . "Nirvana's
      cool, I guess-it's just weird being a part of it."




                                                                      Exhibit H
https ://time .com/4499648/nirvana-nevermind-25-baby-spencer-elden/                                                       4/4
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             EXHIBIT I
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                                  #:195

  From:             Nary Kim
  To:               Robert Y. Lewis; Bert H. Deixler
  Cc:               James R. Marsh; Margaret E. Mabie
  Subject:          RE: Nirvana Meeting on Dec. 13?
  Date:             Tuesday, December 7, 2021 2:58:00 PM
  Attachments:      imaqe00l.pnq



  Yes, that works . Thanks .


  From: Robert Y. Lewis <robertlewis@marsh.law>
  Sent: Tuesday, December 7, 2021 2:56 PM
  To: Nary Kim <nkim@kbkfirm .com>; Bert H. Deixler <bdeixler@kbkfirm .com>
  Cc: James R. Marsh <jamesmarsh@marsh.law>; Margaret E. Mabie <margaretmabie@marsh .law>
  Subject: RE: Nirvana Meeting on Dec . 13?



  External Source.

  Can we meet at 11 :30?


  Sent from Mail for Windows


  From: Nary Kim
  Sent: Tuesday, December 7, 2021 4:54 PM
  To: Robert Y. Lewis; Bert H. Deixler
  Cc: James R. Marsh; Margaret E. Mabie
  Subject: RE: Nirvana Meeting on Dec . 13?

  Hi Robert,


  I remain available for our meet-and-confer any time before 1:30 pm on December 13, but now have
  a few scheduling conflicts that day after 1:30 pm . Let me know what time you plan to come by our
  office .


  Thanks,


  Nary


  From: Nary Kim
  Sent: Friday, December 3, 2021 7:38 AM
  To: Robert Y. Lewis <robertlewis@marsh.law>; Bert H. Deixler <bdeixler@kbkfirm.com>
  Cc: James R. Marsh <jamesmarsh@marsh.law>; Margaret E. Mabie <margaretmabie@marsh.law>
  Subject: RE: Nirvana Meeting on Dec . 13?

  That works . Let us know what time you propose. My schedule is flexible that day.




                                                      Exhibit I
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                                  #:196

  From: Robert Y. Lewis <robertlewis@marsh.law>
  Sent: Friday, December 3, 2021 5:42 AM
  To: Nary Kim <nkim@kbkfirm .com >; Bert H. Deixler <bdeixler@kbkfirm.com>
  Cc: James R. Marsh <jamesmarsh@marsh.law>; Margaret E. Mabie <margaretmabie@marsh .law>
  Subject: Nirvana Meeting on Dec . 13?



   xternal Source.

  I propose a meeting on Dec . 13 in your offices . Bob 620-290-9084


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